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Attorneyfor the Plaintiff


                     UNITED STATES DISTRICT COURT
                              DISTRICT OF MONTANA
                               BILLINGS DIVISION


 ANNA SCHRAUDNER,


                 Plaintiff,             Cause No. CV 18- 108- BLG- SPW- TJC


 v.                                      WAIVER OF THE SERVICE OF
                                             SUMMONS BY DEFENDANT
 YELLOWSTONE COUNTY;                         SHERIFF MICHAEL LINDER
 SHERIFF MICHAEL LINDER;
 SERGEANT RANDY NAGEL; and
 JOHN DOES 1- 10,


                 Defendants.



TO: COLIN GERSTNER OF GERSTNER LAW PLLC


      I have received your request to waive service of a summons in this action


along with a copy of the complaint and this waiver form.

      I, or the entity I represent, agree to save the expense of serving a summons

and complaint in this case.




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            I understand that I, or the entity I represent, will keep all defenses or

objections to the lawsuit, the court' s jurisdiction, and the venue of the action, but


that I waive any objections to the absence of a summons or of service.

            I also understand that I, or the entity I represent, must file and serve an

answer or a motion under Rule 12 within 60 days from July 24, 2018, the date

when this request was sent. If I fail to do so, a default judgment will be entered


against me or the entity I represent.




BOARD OF YELLOWSTONE COUNTY COMMISSIONERS


FOR: SHERIFF MICHEAL LINDER




     x- 30 —/            cf7




Date




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       Duty to Avoid Unnecessary Expenses of Serving a Summons

       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to


cooperate in saving unnecessary expenses of serving a summons and complaint. A

defendant who is located in the United States and who fails to return a signed


waiver of service requested by a plaintiff located in the United States will be

required to pay the expenses of service, unless the defendant shows good cause for

the failure.


        Good   cause"   does not include a belief that the lawsuit is groundless, or that


it has been brought in an improper venue, or that the court has no jurisdiction over


this matter or over the defendant or the defendant' s property.

       If the waiver is signed and returned, you can still make these and all other


defenses and objections, but you cannot object to the absence of a summons or of


service.



       If you waive service, then you must, within the time specified on the waiver


form, serve an answer or a motion under Rule 12 on the plaintiff and file a copy

with the court. By signing and returning the waiver form, you are allowed more

time to respond than if a summons had been served.




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